      AO I 99A (Rer,. I 2/l   l)   Order Serring Conditions of Release




                                                    Umrpo Srarrs DlsrzucT CouRT
                                                                                  for the
                                                                          District of New Mexico


                              United States of America
                                         v.                                             )
                                                                                        )
                                                                                        )         Case   No.   CR 19-1820 MV
                         Christopher Deon Delgado                                       )
                                          Defendant                                     )

                                                   ORDER SETTING CONDITIONS OF RELEASE
  IT Is ORDERED that the defendant's rerease
                                             is subject to these conditions:

                                                                                            le   on release.

 @        The defendant must cooperate in the collection
                                                         of a DNA sample                          if itis autho izedby42 u.s.c.   g 14135a.
 (3)      The defendant must advise the court or the pretrial
                                                              services office or supervising oflicer in writing
          any change ofresidence or telephone numbir.                                                           before making


                                                                                            rd,   must surrender as directed to serve a senteace
          the court may impose.                                                                                                                  that

         The defendant must appear                  at       to be notified




        Ifblank, defendant will be notified ofnext appearance.

(r)     The defendant must sign an Appearance Bond,
                                                                          if ordered.
   AO
              lry    fR*.W1020) Addfrional Conditions
                                                      olRelease

                                                                      ADDITIONALM                                                                                   Paee   _2_of 3    pages

               IT IS FURTHER ORDERED
                                     that the defendant's rerease
                                                                  is s;bject to the conditions
                                                                                               marked betow:
  ()            (6)        The defendant is placed
                                                   in the custody of:
                           Person or organization
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                           City and state
 who agrees to (a) supervise
                             the de
 if the defendant vioiates,   IolatesaconditionofreIeaseoris,"l",e"'l#,..,,[o,.,'.custody.Icou.tp.o.eedi,@
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                                                                                                Signed:
 (x)           (7)    The defendant rnust:                                                                                     Custodiai
              ()x)     (a| su-bmit to supervision by
                                                     and report for sirpervision
                                                                                                                                                                               Date

                           telephone number                                       to the                  Probation/pretriat Services
          (                                                            , no later rhan
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                    ) (b) coniinue o, *irr.ry            *"t6!ioffii-
          (         ) (s, contlnue or start an education program.
          (         ) (d) sunender any passport to:
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 ( ) (p)                                      officer.
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                                          court appearances or other                                                t your residence except
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          ) (c) submit            to
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:"]:] (s)
            AO l99C (Rev. 09/0g) Adviceofpenalties

                                                                                                                     Page 3          of
                                                      ADVICE OE
            TO THE DEFENDANT:

         YOU ARE ADVISED OF THE
                                             FOLLOWING PENALTIES
                                                                            AND SANCTIONS:
               violating any of the foregoing
                                                  conditions of rele-ase may
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               whire on rerease, if you commit
                                                    a federar ferony offense
        and for a federal misdemeanor                                        the punisr
                                           orrense *"ir.:g"-rlis
        consecutive (i'e'' in addition                                  an additiJnai;'1,Tfl:H;,1#ffj"T*, term of not more than ren years
                                       to) t   ,rv *i"L*ience you receive.                                       a'n one year.  This sentence will be
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                                                         Ackhowledgment of the Defendant

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                                                     Directions to the United States
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                                                                                        U.S.   ATTORNEY     U.S. MARSHAL
